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                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

             v.
                                                        No. 21-cr-0052 (TJK)
DOMINIC PEZZOLA,

                    Defendant.


                     DEFENDANT PEZZOLA’S REPLY
                     MEMORANDUM IN SUPPORT OF
                   MOTION FOR MODIFICATION OF BAIL

      On this record, the government prematurely concludes “that no condition or

combination of conditions of release would reasonably assure the safety of the

community.” Cf. United States v. Tanios, No.21-3034 (D. C. Cir., Sept. Term 2020), 1:21-

cr-00222 (TFH) (citing United States v. Munchel, 991 F.3d 1273, 1282 (D.C. Cir. 2021).

      The Tanious Court held as follows:

             Although appellant has not shown that the district court
             applied a presumption of detention in contravention of the
             Bail Reform Act and precedent, see United States v. Khater, No.
             21-3033, Judgment at *2 (D.C. Cir. July 27, 2021) (per curiam),
             the district court clearly erred in its individualized assessment
             of appellant’s dangerousness. The record reflects that Tanios
             has no past felony convictions, no ties to any extremist
             organizations, and no post-January 6 criminal behavior that
             would otherwise show him to pose a danger to the
             community within the meaning of the Bail Reform Act. Cf.
             Munchel, 991 F.3d at 1282-84 (remanding pretrial detention
             orders where the district court did not demonstrate it
             adequately considered whether the defendants present an
             articulable threat to the community in light of the absence of
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               record evidence that defendants committed violence or were
               involved in planning or coordinating the events of January
               6).
Id.

       Here, the Government concludes, “[d]efendant has not proffered any new facts

that would materially alter this Court’s decision to detain the defendant, following a

thorough hearing in March 2021.” (See Government’s Opposition to Defendant’s

Motion for Bail to Place Defendant on Conditional Release Pending Trial at p. 20). We

submit that the Government is just plain wrong. On the full record, and at an in-person

hearing1 on this matter, we believe the Defendant justifies being released on bail.

       Similarly, here, in the case of Dominic Pezzola (“Dom,” Mr. Pezzola” or

“Defendant”), the Defendant has no past felony convictions, and “no post-January 6

criminal behavior that would otherwise show him to pose a danger to the community

within the meaning of the Bail Reform Act.” Id. (citing Munchel, 991 F.3d at 1282-84.

The government cannot demonstrate to this Court that Dom presents “an articulable

threat to the community” because the record is devoid of a showing that Dom

“committed violence or [was] involved in planning or coordinating the events of

January 6”. Id.




1
 At the last conference, the Court scheduled a virtual hearing on this matter for September 2, 2021.
Based on conversations with our client, he has requested that we make an application for an in-person
bail hearing, not a virtual one. Considering that, we are asking the court to schedule an in-person bail
hearing at a date/time that is convenient for all the parties; September 2, is not good for an in-person
hearing for undersigned counsel.
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   I.      OVERVIEW.

        The government is very much aware that it lacks clear and convincing evidence

of dangerousness under the meaning of the Bail Reform Act. The government is also

equally aware that it cannot prove that Dom is a flight risk by a preponderance evidence.

Because of this, and since the inception of this case, the government has distorted truth

and misrepresented facts in a deliberate effort to compensate for its inability to

demonstrate that Dom should be detained pretrial. The government’s continued

misrepresentation and over charging is evidenced in its snap shots and explanation of

Pezzola obtaining a shield “by force and violence and by intimidation. . .”. See Section

Two, infra.

        According to the government, its main opposition to the instant motion is that:

                       “. . . information exists that was not known to the
              movant at the time of the hearing and that has a material
              bearing on the issue whether there are conditions of release
              that will reasonably assure the appearance of such person as
              required and the safety of any other person and the
              community.” See ECF. Doc. No. 69: Government’s
              Opposition to Defendant’s Motion for Bail to Place
              Defendant on Conditional Release Pending Trial, at p. 3
              (citing 18 U.S.C. § 3142(f)(2); United States v. Bikundi, 73 F.
              Supp. 3d 51, 54 (D.D.C. 2014).

        The entire basis of the government’s opposition is that the movant did not

provide information that is both “new” and “material.” Id. (citing United States v. Lee, 451

F. Supp. 3d 1, 5 (D.D.C. 2020).




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    II.      MOTION TO REOPEN: UNDER 18 U.S.C. 3142(F)(2).

          In the Government’s opposition its writes that:

                 [the] government requests that the Court treat his motion as
                 a motion to reopen the detention hearing pursuant 18 USC
                 3142(f)(2). The defendant has had a full opportunity to
                 litigate his detention status before both a Magistrate Judge
                 and this Court. If he wishes to reopen the detention hearing,
                 he must satisfy requirements to reopen, which he does not
                 do for the reasons explained below.

          See ECF. Doc. No. 69: Government’s Opposition at p. 2, FN 1.

          The statute states:

                 “The hearing may be reopened, before or after a
                 determination by the judicial officer, at any time before trial
                 if the judicial officer finds that information exists that was
                 not known to the movant at the time of the hearing and that
                 has a material bearing on the issue whether there are
                 conditions of release that will reasonably assure the
                 appearance of such person as required and the safety of any
                 other person and the community.” 18 U.S.C.A. § 3142
                 (West).

          We submit that several new factors and information has come to light of

undersigned counsel2, that justifies this Court re-visiting Defendant’s bail application.

And lest not forget that the defendant retains the presumption of innocence3.




2
 Undersigned counsel did not represent the defendant during his prior bail application. As such, the
defendant should not suffer if his attorney failed to bring forth relevant factors relevant to the bail
application.
3
 (j) Presumption of innocence.--Nothing in this section shall be construed as modifying or limiting
the presumption of innocence. 18 U.S.C.A. § 3142 (West).


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     III.    LAW AND ARGUMENT

                                POINT ONE:
    DEFENDANT PEZZOLA HAS CLEARLY DEMONSTRATED THAT THE CONDITIONS
                  AT DC JAIL (CTF) JUSTIFY HIS RELEASE

        The government misses the point about the defendant’s access to the discovery

as relevant to the bail application. If there is absolutely no condition by which he can

review the discovery while he is incarcerated in a meaningful manner, that factor must

be taken into consideration when evaluating an application for bail. If a defendant is

denied the opportunity to participate in his own defense, including reviewing discovery

material, then a clear appellate reversable issue would exist if a trial occurred and the

defendant claimed he was denied the opportunity to review discovery and participate

in his own defense.

        The computer policy in place at the CTF is not constitutionally sufficient to

guarantee that the defendant has a full and meaningful access to a laptop to review

discovery. As we noted in our opening application, laptop policies around the country

provide defendant’s more access than what the CTF policy allows. For example, a

prisoner in New York has access to a laptop 7 days a week, more than 12 hours a day.

        The DOT Policy4, dated March 15, 2021, provided by the Government raises a

number of issues that create a number of problematic matters that will deny defendant

fully and adequate access to a laptop to review discovery.


4
 Procedure for Voluminous or Electronic Evidence Review at the Department of Corrections During
the COVID-19 Pandemic (dated March 15, 2021).
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We draw the court’s attention to some of the problems with the policy:

      (1) Electronic discovery (i.e., CD’s, DVD’s, USB flash
         drives) cannot be mailed to the prisoner (See, ¶ #1 of
         Policy);

      (2) After receipt of the discovery, the inmate will be put on
          a waitlist to review the discovery. (See, ¶ #2 of Policy);

      (3) An inmate will be allowed up to two(2) weeks to review
          the electronic evidence and if he needs more time, there
          is a waitlist (See, ¶ #3 of Policy);

      (4) If an inmate needs more time, he may file a grievance (See,
          ¶ #3 of Policy);

      (5) After an inmate has conducted his review, the attorney
          should collect the evidence (See, ¶ #5 of Policy);

      (6) There is no “guarantee that inmates will review any
          and/or all evidence provided to the DOC.” (See, pg. 2 of
          Policy);

      (7) “Currently, there is a several week’s long waitlist to
          review evidence on laptops at DOC which fluctuates
          depending on the demand for this service.” (See, pg. 2 of
          Policy);

      (8) “[C]ontact and contactless in-person attorney visits
          resumed at the DOC on June 22, 2020, and are still
          available to defense attorneys.” (See, pg. 2 of Policy). We
          note for the record that we submitted a request to visit
          another client on August 12, 2021, and to date haven’t
          received a response; and

      (9) “A contact visit will result in an inmate being placed in a
          medical enhanced monitoring unit for up to 14 days
          following the visit.” (See, pg. 2 of Policy). So, if we were
          to visit our client, he would be penalized and placed in
          medical solitary confinement as a result of seeing his
          counsel face-to-face.
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        The totality of the program does not muster a constitutional challenge about a

defendant having adequate access to the discovery and participating in his own defense.

Considering the constitutionally deficient program at DOC, bail should be granted.

                           POINT TWO:
DEFENDANT PEZZOLA HAS PRESENTED ADEQUATE INFORMATION REGARDING
    THE NATURE AND CIRCUMSTANCES OF THE OFFENSES THAT JUSTIFY
               REOPENING THE DETENTION HEARING
           (Defendant’s Response to Government’s Point II)

        The government has a duty to disclose all material that is not just exculpatory,

but favorable to the accused, sufficiently in advance of a trial. Further, the Government

has an ongoing duty to disclose such materials. The Government’s recent disclosures

about the delays in disclosing discovery is a new circumstance and new information that

was not available at the prior bail application.

        The government is further obligated to disclose all material that can be

considered exculpatory, impeachment, etc. pursuant to the Rules of Evidence and

Supreme Court precedent.5

        The Government in recent court appearances have publicly acknowledged that

they most likely will not be able to satisfy all their discovery obligations, especially their

obligations to disclose all Brady materials.6

5
  (See, e.g., Brady v. Maryland, 373 U.S. 83 (1963); Kyles v. Whitley, 514 U.S. 419 (1995); Giglio v. United
States, 405 U.S. 150 (1972); United States v. Agurs, 427 U.S. 97 (1976); United States v. Bagley, 473 U.S.
667 (1985); Strickler v. Greene, 527 U.S. 263 (1999); Mackabee v. United States, 29 A.3d 952 (D.C. 2011)
and Miller v. United States, 14 A.3d 1094 (D.C. 2011)).
6
  See https://beckernews.com/22-the-doj-admits-it-is-withholding-potentially-exculpatory-evidence-
in-january-6-criminal-cases-in-legal-filing-40792/
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       Mr. Pezzola should not remain in prison any longer unless the government states

affirmatively that every single piece of discovery, including information favorable to the

accused has been disclosed. If not, Dom should be released on bail.

       The Government has publicly stated that materials, such as grand jury transcripts,

videos, exculpatory material, and other materials may not be fully disclosed until 2022.

No defendant should remain in prison, especially a defendant that is not charged with

the death of someone, be denied bail.

       The government contends that the defendant “took the shield by ‘force and

violence and by intimidation . . . from the person and presence of a Capitol Police

Officer.” See ECF. Doc. No. 69: Government’s Opposition at p. 10. Undersigned

defense counsel watched and rewatched DSC_0006.mov (a video provided by the

government) multiple times and what we see is Dom picking up the shield off the

ground – no force, no intimidation, no violence in obtaining the shield.

(DSC_0006.mov at 58 seconds to 1:05 minute).

       The government contends that his prior counsel had access to this video, and

other discovery, and failed to explain it. Dom should not suffer for any failures that

can be attributed to prior counsel.

                                     POINT THREE:



https://www.npr.org/2021/07/27/1013500073/the-justice-department-is-struggling-to-bring-
capitol-riot-cases-to-trial-heres-;        https://www.nytimes.com/2021/08/10/us/politics/jan-6-
investigation-evidence-speedy-trials.html;           https://www.washingtonpost.com/local/legal-
issues/capital-riot-evidence-cost/2021/07/16/d5e81bdc-e404-11eb-8aa5-5662858b696e_story.html
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 DEFENDANT PEZZOLA HAS ESTABLISHED A CONSTITUTIONAL VIOLATION AS A
              RESULT OF OTHER DEFENDANTS’ RELEASE
           (Defendant’s Response to Government’s Point IV)

      Section 1 of the Fourteenth Amendment states:

             All persons born or naturalized in the United States, and
             subject to the jurisdiction thereof, are citizens of the United
             States and the State wherein they reside. No State shall make
             or enforce any law which shall abridge the privileges or
             immunities of citizens of the United States; nor shall any
             State deprive any person of life, liberty, or property,
             without due process of law; nor deny to any person
             within its jurisdiction the equal protection of the laws.

(emphasis added)

      If individuals across the United States are charged with similar or harsher crimes

than the defendant, and they are being released on bail, that is clearly a denial of equal

protection of the law. The fact that a defendant committed a crime at The Capitol

should not weigh more heavily against him, then if he committed a similar crime

elsewhere.

      That the Court’s prior ruling and the government’s position, are entirely out of

line with legal precedent as demonstrated by the fact that persons accused of far more

egregious crimes under analogous circumstances have consistently been released

because the of the strength of the Bail Reform Act’s presumption against pretrial

detention.

      Some examples of cases where bail was granted are:

      (a) Elizabeth Ann Duke, a member of the radical and extremely violent M19
          terrorist group, who materially participated in the bombing of the United
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              States Capitol’s Senate Chamber on November 7, 1983. Despite being
              charged with multiple crimes related to domestic terrorism, including the
              possession of stolen explosives, possession of instruments of forgery, and
              falsified identification documents- Elizabeth Duke was released on bail
              during a time that the Bail Reform Act did not even exist. (See United States v.
              Elizabeth Duke, Case No. 2:58-cr-00222 (MSG); Criminal Docket: ECF
              Document No. 69, (filed June 20, 1985).

          (b) In the case of United States v. Robinson, where on May 28, 2020, Dylan
              Shakespeare Robinson was granted pretrial release by the U.S District of
              Minnesota despite materially participating in a nationally televised
              coordinated attack on Minnesota’s 3rd Precinct, where after breaching the
              doors, the interior was set ablaze with officers still inside.7 (See United States v.
              Robinson, Order Setting Conditions of Release, Case #: 0-20-cr-00181 (PJS)
              (BRT), ECF Doc.#: 12.

          (c) On May 30, 2020, Utooj Rahman and Colinford Mattis firebombed an NYPD
              vehicle parked on a Brooklyn, New York street, without regard for the safety
              of thousands of protesters and police. Rahman and Mattis were subsequently
              charged with several violent felonies and faced over forty years in jail if
              convicted. Even so, the Eastern District of New York granted bond, and the
              Second Circuit Court of Appeals affirmed.8 (See United States v. Mattis, 963
              F.3d 285 (2d Cir. 2020). Defendants Rahman and Mattis were subsequently
              charged with several violent felonies, and nonetheless release on pretrial
              bond.

          (d) United States v. Chrestman, 2021 WL 765662 (D.D.C February 26, 2021), slip
              op. at*1-2 (detention ordered for Proud Boy defendant who brandished an
              axe handle; wore a tactical vest, a hard helmet and a gas mask; toppled the
              metal barriers used by police to hold back the crowd; was on front lines and
              threatened a police officer, “You shoot and I’ll take your fucking ass out”;
              encouraged others to interfere with police officers’ arrest of a protester; and
              used his axe handle to prevent police from closing barriers to Capitol
              building), with United States v. Cua, 2021 WL 918255 (D.D.C. March 10, 2021),
              slip op. at *1 (detention not justified for defendant who previously called for
              execution of elected officials and “glorified violent protest,” and who on
              January 6, 2021, walked through Capitol building twirling a black baton,

7
    U.S. v. Robinson, Order Setting Conditions of Release (ECF Document No. 12 July 14, 2020).
8
    United States v. Mattis, 963 F.3d 285 (2d Cir. 2020).
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   attempted to open office doors in the Capitol, thrice shoved aside a police
   officer to enter the Senate Chamber, sat “atop the Senate dais in the chair
   previously occupied by former Vice President Mike Pence, with his feet up on
   [] the desk,” and photographed senators’ papers in the chamber).

(e) United States v. Hunter Ehmke, 21-cr-29 (TSC) (detention not justified for
    defendant who broke window of Capitol building and did not cease when
    ordered to do so by police officer)

(f) United States v. Jones, 21-mj-76 (ZMF) (government did not seek detention for
    defendant who violently broke glass of doorway to House chamber (doorway
    Ashley Babbitt tried to climb through seconds later));

(g) United States v. Gossjankowski, 21-cr-123 (PLF) (government did not request
    detention for defendant who activated taser in Capitol multiple times); United
    States v. Miller, 21-cr-75 (RDM) (detention not justified for defendant who
    discharged fire extinguisher onto police officers and used a crowd barrier
    fence as a ladder to scale the Capitol building walls);

(h) United States v. Powell, 21-cr-179 (RCL) (detention not justified despite
    presumption of detention for crime of violence for defendant who used a
    battering ram to break a window of the Capitol, climbed in, came back out,
    used bullhorn to direct others inside with what seemed to be detailed
    knowledge of the floor plan, and exhorted others to break another window);

(i) United States v. Leffingwell, 21-cr-5 (ABJ) (government did not request detention
    of defendant who repeatedly punched a police officer at Capitol with a closed
    fist and breached line of officers attempting to keep people out of the
    building);

(j) United States v. Biggs, 21-mj-126 (RMM) (detention not justified for Proud Boy
    defendant who posted plans on social media before attack, was at front of
    crowd who breached and entered Capitol building within 20 seconds of
    breach, and communicated with other Proud Boy members with walkie-
    talkies during riot);

(k) United States v. Capsel, 21-mj-122 (RMM) (detention not justified for defendant
    captured on video physically fighting National Guardsmen who were
    attempting to hold a boundary, and who did not desist until he was sprayed
    with pepper spray);

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     (l) United States v. Colt, 21-cr-74 (TFH) (government did not request detention of
         defendant wearing assault gear who scaled the wall of the Senate chamber,
         later proclaimed on social media that he was the first person to sit in former
         Vice President Pence’s chair, and called Speaker Pelosi a “traitor”);

     (m) United States v. DeCarlo/Ochs, 21-cr-73 (BAH) (government did not request
        detention for Proud Boy organizers who planned and fundraised for the riot,
        one of whom had Proud Boys name tattooed on his body, who posted their
        obstructionist intent on social media, defaced the Capitol building with the
        words, “Murder the Media,” and took flexicuffs from the Capitol);

     (n) United States v. Bisignano, 21-cr-36 (CJN) (detention justified for defendant
         accused of being an “instigator, a director, and an active participant in the
         violence, destruction and obstruction at the Capitol,” who was on the front
         lines pushing against the police, shouted through a bullhorn, “Everybody, we
         need gas masks! We need weapons! We need strong, angry patriots to help
         our boys!” and who is charged with destruction of property);

     (o) United States v. Cudd, 21-mj-68 (TNM) (government did not request detention
         for defendant who livestreamed video from inside Capitol building stating
         that to gain entrance “we just pushed, pushed, and pushed, and yelled go and
         yelled charge,” and said “fuck yes, I am proud of my actions, I fucking
         charged the Capitol today with patriots today. Hell, yes, I am proud of my
         actions,” and later told a new station, “Yes, I would absolutely do it again”).

     Overall, these line of cases, establish the continued enforceability of the Bail

Reform Act’s presumption against pretrial detention. Id.; See also Section III,

Introduction, supra. Especially, during circumstances where in can be reasonably

inferred that a person’s actions arise from an ardent desire to openly criticize the

actions of government. The Court’s granting of the government’s motion for against

pretrial release, when viewed in light of the Duke-Robinson-Mattis-Munchel, is grossly

unjust because the objective facts regarding Dom’s personal history. The fact that

Dominic remains detained simply cannot be justified.

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                            POINT FOUR:
   AS A MATTER OF LAW, M UNCH EL DOES NOT CREATE A PRESUMPTION OF
  DETENTION FOR THOSE ACCUSED OF VIOLENCE OR PROPERTY DAMAGE ON
    JANUARY 6 AND THAT PEZZOLA, SHOULD BE SUBJECT TO MORE HARSH
                 TREATMENT AT THE DETENTION STAGE.

        The government is correct in stating that “. . . each defendant’s bond

determination must be individualized. . .”. See ECF. Doc. No. 69: Government’s

Opposition at p. 10. But, nonetheless, seeks its continuing effort to detain Pezzola, a

respected family-oriented man, military man who served this country proudly, owned a

small business that employed others, has an excellent background, and no history of

violence.

        To begin, the Government argues throughout its entire opposition that all the

evidence available now was available to the defense on March 1, 2021, the date of the

last pretrial detention hearing. See 3/1/2021 Minute Entry. What the government does

not address is first, in numerous January 6 cases, its office has acknowledged on the

record in those cases that discovery will not be complete until 2022; second, that Munchel

was decided after Pezzola’s last detention hearing, and such new interpretation was not

applied in this matter. United States v. Munchel, 991 F.3d 1273 (D.C. Cir. 2021); and third,

that approximately 45 days after Pezzola’s last detention hearing, a superseding

indictment was filed. See ECF Doc. #: 34, Superseding Indictment, filed on April 16,

2021.




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       In addressing the robbery counts, and allegations that Pezzola “by force and

violence and by intimidation, did take . . . a riot shield”, the instant application does for

the first time highlight that Pezzola picked the shield up from the floor. Pezzola’s

defense cannot speculate as to the reasons prior counsel did not fully address this during

the prior hearing, but the instant application addresses this count in conjunction with

others counts such as the section 1512(c) charges, as to explain to the Court that when

each count is nit-picked, the overall evidence against Pezzola is not much different than

co-defendant Pepe.9 who remains on bail with specific conditions. Overall, with regard

to Pezzola there are a “combination of conditions of release would reasonably assure

the safety of the community” Cf. United States v. Tanious, No.21-3034 (D. C. Cir., Sept.

Term 2020), 1:21-cr-00222 (TFH) (citing United States v. Munchel, 991 F.3d 1273, 1282

(D.C. Cir. 2021).

        With regards to the robbery allegations, the government pasted two screen shots

that do not tell the entire story. After reviewing the video the government references, a

few points must also be stressed:

                       (1) Pezzola is pushed from behind and loses his
                           footing around 37 seconds into the video;

                       (2) the video is unclear as to what Pezzola does at
                           such time, and does not capture Pezzola taking a

9
 Again, in the original indictment Pezzola was charged in counts 1-11, and Pepe was charges in counts
1,2,8, and 9. In the superseding indictment, Pezzola was charged in counts 1-10, and Pepe was charges
in counts 1, 2, 3, 6, 7, 8, and 9. The difference in the counts, essentially breaks down to the addition
of the Robbery and property damage Pezzola is alleged to have committing and Pepe is not. So the
weight of the evidence cannot be said to be that much substantially stronger against Pezzola.
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                              shield from an officer (this is the time frame of
                              picture 1 of 2 that the government attached);

                         (3) Pezzola falls back and regains his footing without
                             a shield in his hands;

                         (4) then at 1 minute and 1 second into the video you
                             can make out Pezzola picking the shield up off
                             the floor.

        Overall, the video is unclear and shows Pezzola being pushed and putting his

hands up, then falling without a shield. At the same time officers may have fell around

or on Pezzola, and its after such events that Pezzola picked up a shield off the floor as

the officers turned around and went back to the line the officers set up. Simply put,

Pezzola did not obtain a shield “by force and violence and by intimidation. . .”.

        Furthermore, Munchel made it clear that a “categorical approach” that places

alleged violent defendants in a group that “necessarily imposes a concrete prospective

threat” is a flawed interpretation. United States v. Munchel, 991 F.3d 1273 (D.C. Cir. 2021).

        Here, the government continuously uses the word “violence” in explaining

Pezzola’s actions on January 6 as to place Pezzola into a “categorical approach” that

illustrates Pezzola as “violent” individual who was nothing but “violent” on January 6.

In only one sentence does the government state that that the violence was committed

in front of Pezzola and not by Pezzola. See ECF. Doc. No. 69: Government’s

Opposition at p. 13 (stating officers were “toppled by violence against police committed

before [Pezzola’s] eyes. . .”).



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       The government’s picture has been painted crystal clear: Pezzola used “violence”

and was “violent” and, therefore is “presumed to pose a concrete and prospective

threat” to the community.

       The problem is that Pezzola was not violent in the true sense of the word and is

rather really alleged to have caused property damage.

       The public already heard the name “Dominic Pezzola” during the Trial of

Donald J. Trump more than ten times, where Pezzola was incorrectly portrayed as “a

leader of the Proud Boys” and a “insurrectionist”.10

       Now we find ourselves in a time where since Pezzola’s last detention hearing,

the Munchel decision has provided guidance, and the J6 Defendant, Douglas Jensen,

who led the “mob chase” against “Capitol Police Officer Eugene Goodman” has been

released on bond. See United States v. Douglas Jensen, 1:21:cr-00006 (TJK); see also United

States v. Douglas Jensen, 1:21:cr-00006 (TJK) at ECF Doc. 31 (ordering “Douglas Jensen

shall be released to the custody of his wife, April Jensen, on July 14, 2021.”).



       10
                    See        https://www.congress.gov/congressional-record/2021/02/11/senate-
section/article/S645-2 (last visited on 08/20/2021); See also JANE FLASH, TYLER BROWN & WHAM
STAFF, Rochester Proud Boy Charged in Capitol Takes Center Stage in Impeachment Trial (available at
https://13wham.com/news/local/attorney-proud-boy-duped-by-trump-into-thinking-he-was-
patriot-protecting-country (last visited on 08/20/2021) (explaining “At the same time as the detention
hearing, Pezzola, 43, was a key name during day two of former President Donald Trump's
impeachment trial. New video shown on the U.S. Senate floor Wednesday shows the moments after
Pezzola used a shield to break through a Capitol window. Prosecutors claim Pezzola was among the
first rioters to breach the Capitol. . . “He commandeered a Capitol police shield, used it to smash a
glass window, entered the Capitol and paved the way for dozens of insurrectionists,” said Delegate
Stacey Plaskett, impeachment manager. “On the right, you can see Pezzola in the mob chasing Capitol
Police Officer Eugene Goodman through the building.”).


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       Any legal mind must ask the question “how is Pezzola ever going to receive a

fair trial in Washington DC” after his name was put on blast during Trump’s

impeachment trial, and with the statements made at the recent congressional hearings.

One article actually stated:

              That’s why it’s impressive that Stacey Plaskett, the House of
              Representatives delegate from the Virgin Islands, managed
              to dramatize the machinations of online political life so
              vividly in the impeachment trial of Donald Trump. In fact,
              Plaskett, a House impeachment manager, emerged at
              Wednesday’s hearing as the Homer of the proceedings — a
              masterful storyteller equal to the complex task of connecting
              virtual signals to real-world violence.

              To prove to the Senate that Trump incited violence at the
              U.S. Capitol on Jan. 6, as the House’s single article of
              impeachment alleges, Plaskett brought more discipline than
              operatics to her presentation. Fact by fact, she took her
              audience through the tragedy of the Capitol attack, linking
              Trump’s tweets and the responses in online forums to the
              insurgency. Her goal was to show that “the violence was
              foreseeable,” in her words, if you just knew where to look.

See VIRGINIA HEFFERNAN, Column: Stacey Plaskett’s facts will convict Trump for history, if not

for the GOP (available at https://www.latimes.com/opinion/story/2021-02-12/stacey-

plaskett-impeachment-donald-trump-insurrection-january-6) (last visited 08/20/2021).

       The “violence” being foreseeable and being attributed to Pezzola shortly after

January 6 is part of the problem. Placing Pezzola into a “categorical approach” that

places alleged violent defendants in a group that “necessarily imposes a concrete

prospective threat” in the future is the other part of the problem. United States v. Munchel,

991 F.3d 1273 (D.C. Cir. 2021).
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      Recently, the Hale-Cusanelli Court rejected any sort of “categorical approach”

after the Munchel decision, in holding:

             The point of Munchel was that everyone who entered the
             Capitol on January 6 did not necessarily pose the same risk
             of danger and the preventive detention statue should apply
             to the January 6 defendants the same as it applies to everyone
             else, not that the January 6 defendants should get the special
             treatment of an automatic exemption from detention if they
             did not commit violence that particular day.

United States v. Hale-Cusanelli, 3 F.4th 449, 456 (D.C. Cir. 2021)

      Accordingly, we know Munchel neither created a “categorical approach” nor did

such decision authorize the District Court to place Pezzola into a specified “bucket”

for special treatment. Further, Munchel did not create a presumption of any kind that

should blanketly apply to Pezzola, or a “guideline”.

      With regards to Pezzola, we have been, unquestionably, placed at a highly

disadvantaged starting point. With Munchel as guidance, we can now correctly apply the

Bail Reform Act to Pezzola.

       We already cannot reasonably receive a fair trial, so why must Pezzola be

punished with pre-trial detention.

                          POINT FIVE:
THE GOVERNMENT CANNOT ESTABLISH AN ARTICULABLE FUTURE THREAT TO
AN INDIVIDUAL OR THE COMMUNITY IN LIGHT OF MR. PEZZOLA’S CONDUCT ON
                            JANUARY 6.

      Respectfully, the Government’s prior assessment of Pezzola’s dangerousness

was in error. First, while this Court has ruled on specific facts of this case to determine

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dangerousness, it relied upon facts not in the record, misleading interpretations of facts,

and certain facts which are not true or in its full context as explained above in Point

Four.

     Our instant application explains how this Court on March 16, 2021, already ruled

that Pezzola “presented evidence sufficient to rebut the presumption, but after

considering the presumption and the other factors discussed below, detention is

warranted for the reasons summarized in Part III.” (See ECF Doc. 26); see also ECF Doc.

25 at p. 12, FN 2 (highlighting “The government does not press the argument that

Pezzola is a flight risk very far, and like Judge Meriweather, this Court does not find it

persuasive. The Court does not order that Pezzola be detained for this reason.”).

        So the presumption has already been ruled to have been rebutted, and the

government did not argue Pezzola was a flight risk, but Part III of this Court’s analysis

found, in prudent part, that: “the Government has proven: By clear and convincing

evidence that no condition or combination of conditions of release will reasonably

assure the safety of any other person and the community. . . [and that the] [w]eight of




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evidence against the defendant is strong Subject to lengthy period of incarceration if

convicted.” (See ECF Doc. 26 at p. 2). 11

      As such, and evidence to diminish the Robbery and 1512 (c) charges becomes

material and relevant to the instant application. See ECF Doc. 25 at p. 15 (denying bail

because Pezzola’s actions were explained to have been one of “robbing a police officer

of his or her riot shield”).

      Essentially, this Court is left with considering whether Pezzola presents an

identifiable or articulable future threat to the community, or any other person as

required under Munchel. United States v. Munchel, 991 F.3d at 1282-1283.

        In doing so, there cannot be an overwhelming emphasis upon the alleged offense

conduct, and it should not be presumed because Pezzola is alleged to have damaged

property that he will do something similar again. Id. There are various conditions or a

“combination of conditions of release would reasonably assure the safety of the

community” if Pezzola is placed on home incarceration with electronic monitoring. Cf.

United States v. Tanious, No.21-3034 (D. C. Cir., Sept. Term 2020), 1:21-cr-00222 (TFH)

(citing United States v. Munchel, 991 F.3d 1273, 1282 (D.C. Cir. 2021).


11
  See also ECF Doc. 25 at p. 15 (highlighting that “In sum, the proffered evidence shows that Pezzola
came to Washington, D.C. as a key member of a broader conspiracy to effectively steal one of our
Nation’s crown jewels: the peaceful transfer of power.”); compare to MARK HOSENBALL AND SARAH
N. LYNCH, Exclusive: FBI finds scant evidence U.S. Capitol attack was coordinated – sources, available at
https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-attack-was-
coordinated-sources-2021-08-20/(last visited at 08/20/2021)(highlighting that just today “The FBI
has found scant evidence that the Jan. 6 attack on the U.S. Capitol was the result of an organized plot
to overturn the presidential election result, according to four current and former law enforcement
officials.”).
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     Simply put, Pezzola needs to care for his family, and adequaltely prepare for his

defense as this matter will most likely go to trial. Pezzola can do that from the inside of

his house, without posing a single threat to the community or any individual.

     Therefore, the government’s proofs regarding dangerousness lacks sufficient

explanation.

                                     CONCLUSION

      The government’s argument in favor of pretrial detention is unsupported by facts

demonstrative of risk of flight or danger to the community. The government has also

utterly failed in demonstrating a specific articulated future threat of dangerousness but

has instead advanced speculation and conjecture in its absence. Dom’s personal history,

community ties, and lack of criminal history are more than sufficient proof to rebut any

presumption of detention.         Because of this, Dom should be released from the

dangerous conditions of punishment in the DC Central Detention Facility.

      WHEREFORE, for the foregoing reasons, and any others which may appear

at a full hearing on this matter, and any others this Court deems just and proper,

defendant, Dom, through counsel, respectfully requests that he be released on personal

recognizance. If that request is denied, defendant requests as an alternative, that he be

released on Third Party Custody and placed under the Supervision Pretrial Services

under the reasonable conditions of electronic monitoring, work release, out of state

travel restrictions and curfew.



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Dated: August 20, 2021

                                           Respectfully Submitted,

                                           _________________________
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